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IN THE UNITED STATES DISTRICT COURT
FOR THE D'IS'TRICT OF DELAWARE

 

IRON W'O RKERS DISTRICT
COUNC]L OF NEW ENGLAND
P'ENSION FUND, individually and on
Behalf of All Others Similarly Situated,
Civil Action No.
Plaintiff,

V.

MONEYG`RAM INTERNATIONAL,
INC., THOMAS H. LEE PARTNERS,
L.P.,_ PAMELA H. PATSLEY, W.
ALEXANDER HOLMES, J. COLEY
CLARK, VICTOR W. DAHIR,
A_NTONIO O. GARZA, THOMAS H.
HAGER'I`Y, SETH W. LAWRY,
PEGGY VAUGHAN, GANESH RAO,
W. BRUCE TURNER, MERRILL
LYNCH, PIERCE, FENNER & SMITH
INCORPORATED, WELLS FARGO
SECURITIES, LLC, GOLDMAN
SACHS & CO., lNC., J.P. MORGAN
SECURITIES, LLC, MACQUARlE
CAPI'I`AL (USA) lNC., and WILLIAM
BLAIR & COMPANY, L.L.C.,

V`_l\_¢\./"/\_/\_/\-¢/\-,/V\-_/\-_/\-/V\-/\_/\./\_/\_/\_/\_/V\-/\-./\_/\.-/\./

Defendants.

 

NOTICE OF R_EMOVAL
Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendants MoneyGram
lnter-national, Inc'., (“Mone'yGrarn”), Thomas H. Lee Partners, L.P., Men'ill Lynch, Pierce,
Fenner & Smith Incorporated, Wells Fargo Securities, LLC, Goldman, 'Sachs & Co., [nc., J.P.,
Mo'rgan Se'curities, LLC, Macquarie Capital (USA) Inc. and William Blair & Company L.L.C.,
together With Pamela H. Patsley, W. Alexander Holmes, J. Coley Clark, Victor W. l)ahir,
Antonio- 0. Ga'rza, Peggy Vaugha_n, and W`. Bruce Turne'r (collectively, the “lndividual

Defendant_s',” and together With all other defendants-, the “Defendants”), specially appearing

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solely t`or' the purpose of submitting this notice of removal and preserving and not waiving any
defenses they may have based on lack of personal jurisdiction or service of process, or any other
defe'nses, respectfully submit this Notic'e of Remo'val of this putative class action, filed by Iron
Workers District Council of New England Pension Fund (“New England Iron Workers” or
“Plaintif’f”}, from the Superior Court of the State of Delaware, in and for New Castle County,
Case No. NlSC-04-144-WCC-CCLD (the “State Court Action”), to the United State's District
Court for the District of Delaware. As grounds for their removal of this action, Defendants
respectfully show the court as follows:

l. On April 15, 2015, Plaintif`f filed the State Court Action, styled Iron Workers
District Council of New England Pe-nsion Fund v. MoneyGrc_zm Internal`ional, Inc,, el al.,
No. NlS-C-.04-l44-WCC-CCLD, asserting various securities claims against MoneyGram, the
Individual Defendants, and seven other investment firms and banks

2. On April 29, 2015, Plaintiff served MoneyGram’s agent for service of process
with the summons from the State Court Action. On April 30, 2015, counsel for the lndivid-ual
Defenda_nts accepted service on their behalf. Def`endants timely removed this action by filing
this notice of removal Within thirty days after Plaintiff served MoneyGram. 28 U.S.C. § l446(b).

3. In accord With 28 U.S.C. § 1446(b), attached hereto as Exhibits A, B, and C,
respectively, are an index of all documents filed in the state court, the state court docket sheet,
and a copy of each document filed in state court

4. This action has no pending motions.

5. Thoma's H. Lee Paitners, L.P`.; Merril.l, Lynch, Pierce, F`enner & Smith,
Incorporated; Wells Far.go Securities, LLC; Goldman, Sachs & Co., Inc.; J.P. Morgan Securities,

LLC; Macquarie Capital (USA) -Inc.; and William Blair & Company, L.L.C. consent to removal

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6. Defendants will promptly file a copy of this notice of removal With the
Prothonota'ry of the Superior Court of New Castle Count'y Delaware where the suit has been
pending

7. Venue is proper in the District of D-elaware under 28 U.S.C. § `l44l(a) because
the state court where the suit has been pending is located in this district
Removal Is Proner Under 28 U.S.C. § 1441

8. This Court has jurisdiction under 28 U.S.C. § 1331 because this is a civil action
arising under the laws of the United State_s. Specitically, this putative class action arises under
Sections ll., 12(a)(2), and 15 of the Securities Act of 1933 (the “’33 Act’“), 15 U.S.C. §§ 77k,
77l(a)(2), and 770. (Compl. at 4, 11 5.) Sectiori 22(a) of the ’33 Act provides that the “distriet
courts of the United States” shall have jurisdiction “ot` all suits in equity and actions at law
brought to enforce any liability or duty created” by the ’33 Act. 15 U.S.C. 77v(a).

9. Co.nverscly, the state courts do not have subject matter jurisdiction over ’33 Act
claims. In 1998, as part of Congress’ efforts to ensure that the federal courts would be the
exclusive forum for litigation of securities class action claims_, Congress amended the ’33 Act
through the Securities Litigation U_niform Standards Act (“SLUSA”). SLUSA expressly
divested state courts of all jurisdiction over “covered class actio_ns” filed under the ’33 Act.

10. Scction 22(a) of the ’33 Act (15 U.S.C. §77v(a)) states that “[t]he district courts
of the United States . . . shall have jurisdiction of offenses and violations under this
subchapter. . . and concurrent with State and Territorial courts, except as provided in [Section
16] with respect to covered class actions.” Section 16 defines a “cove'red class action” as one “in
which damages are sought on behalf of 50 or more people.” 15 U.S.C. § 78bb(D(5)(B)(i). In the

Complaint, Plaintift` seeks damages on behalf of itself and “.all purchasers of MoneyGram

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common stock pursuant and/or traceable to the Offering Docu`rnents issued in connection with
the Offering” and specifically pleads that it believes there are “hundreds of members" in the
proposed class action. (Compl. at 20-21, 1111 63, 64.) Thus, this case involves a covered class
action and, pursuant to Section 22(a), federal courts have exclusive jurisdiction See Knox v.
Agrr'a Corp, 613 F. Supp. 2d 419 (S.D.N.Y. 2009) (holding that the federal court had exclusive
jurisdiction over a class action asserting ’33 Act -claims); accord la re Fanm`e Mae 2008 Sec.
Lz`t.,_ 2009 WL 4067266 (S.D.N.Y. Nov. 24, 2009).

11. Bccause the federal courts (and not the state courts) have original subject matter
jurisdiction over this federal question case, it is properly removable to this Court under 28 U.S.C.
§ 1441(a). See, e.g., In re Fannie Mae, 2009 WL 4067266, at *2 (“federal courts have exclusive
jurisdiction over covered . . . class actions alleging claims under the 1933 Act”); Kaox, 613 F.
Supp. 2d at 425 (“the exception in the jurisdictional provision of Section 22(a) exempts covered
class actions raising 1933 Act claims from concurrent jurisdiction” such that “fcdcral courts
alone have jurisdiction to hear them”); Pimo v. Vonage Hola’ings Corp., Civ A. No. 07-0062
(FLW), 2007 WL 1381746, at *2 (D.N.J. May 7, 2007) (holding that Sectiorr 22(a) of the ’33 Act
“divest[s] state courts of concurrent jurisdiction over covered class actions”); Lapr‘n v. Faccbook,
Inc., No. C--12-3195 MMC, 2012 WL 3647409, at *2 (N.D. Cal. Aug. 23, 2012) (“fede'ral courts
alone have_iurisdiction to hear covered class actions raising 1933 Act claims”).

12. Section 22(a)’s removal bar does not apply to the removal of “covercd class
actions” like this case. Section 22(a) explains that,.“[e]xcept as provided in section [16(c)] of the
[’33 Act], no case arising under [the ’33 Act] and brought in any State court of competent
jurisdiction shall be removed to any court of the United Statcs.” 15 U.S.C. § 77v(a) (emphasis

added). In conjunction With Congrcss’ amendment in 1998 of S-eetion 22(a)’s jurisdictional

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provision to divest state courts of concurrent jurisdiction over “covered class actions,” Congrcss
also amended this removal bar provision, which bars the removal of ’33_ Act suits only if filed in
a “State court of competent jurisdiction.” B.eca'use state courts no longer have subject matter
jurisdiction over “covered class actions,” they are not “courts of competent jurisdiction” in
regard to “<:0vered class actions.” The removal bar found in S-ection 22(a) thus does not apply to
this case.1 See, e.g., Knox, 613 F. Su-pp. 2d at 425 _(“Because there are no ‘state courts of
competent jurisdiction’ to hear covered class actions asserting 1933 Act claims and because
Knox’s putative class action is such a covered class action, the ami-removal provision does not
bar removal of Knox’s action."’); Fannie Mae, 2009 WL'4067266 at *2 (same); Lapr'n, 2012 WL
3467409 at *3 (“the effect of the above-referenced amendments is that the non-removal
provision in § 77v(a) . . . no longer applies to a ‘covered class action’ alleging claims under the
1933 Act, and, consequently,_ a class action brought under the 1933 Act is removable pursuant to
28 U.S.C. § 144l(a)”).

Removal la Prop- er Under 15 U.S.C. § 77(p)

13. While the case is exempt from the removal bar,_ it is also independently removable
under Section 16(c) of the ’33 Act. 15 U.S.C. § 77(p)(c). Section 16(0) states, “[a]ny covered
class action brought in any State court involving a covered security, as set forth in subsection (b),
shall be removable to the Federal district court for the district in which the action is pending, and
shall be subject to subsection (b).” Id. § 77p(c). Subsection (b), in tum,_ identifies securities
class actions based on (l) untrue statements or omissions or (2) deceptive sales. See 15 U.S.C.
§ 77p(b). Thus, Section 16(c) authorizes the removal of class actions that allege misstatements

or omissions in connection with a covered security 15 U.S.C. § 77p(c). This case meets that

 

' Federal district courts are split on the removability of ’33 Act class actions, and none of the courts of appeals has
ruled on this issue. Althoug_h some courts, primarily in California,_ have held that Section ll, 12 and 15 cases such
as this one are not removable, the better reasoned cases have held that they are.

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standard. The ’33 Act defines “covered security"’ to include a security listed on the N_ational
Market System of the NASDAQ Stock Market. 15 U.S.C. §§ 77r(b). MoneyGram’s stock is
listed on thc Nationa] Market System of the NASDAQ Stock Market.

14. Bccause this action qualities as a covered class aetion, makes allegations of
untrue statements or omissions, involves a covered security, and was brought in state court,
under this line -ofcases it is also removable under Section 16(c). See, e.g., 'Rub'in v. Pixelplus (_.`0.
LId., 2007 WL 778485, at *3-4 (E.D.N.Y. Mar. 13, 2007); see generally Knox, 613 F. Supp. 2d
at 423 & n.l (citing cases).2

15. Defendants have satisfied all elements necessary for the removal of this action
pursuant to 15 U.S.C. §§ 77v(a) and 77p(c) and 28 U.S.C. § 1441. Accordingly, Defendants
remove this action to the United States District Court for the District of Delaware, and
respectfully request that the Superior Court of the State of Delaware in and for New Castle
County proceed no further with respect to this case in accordance with 28 U.S.C. § 1446(d).

MoaRls, Nlcnol._s, ARsHT & TuNNELL LLP

 

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2 Accord Pintu, 2007 WL 1381746, at *2; Rovner v. Vr)nage Hofdr'ngs Corp., 2007 WL 446658, at *3 (D.N.J. Feb. 7,
200-7); Brady v. Ko.s'mc)s Energy er., No. 3:12-CV~0373-B, slip op. at 2 (`N.D. `Tex. July 10, 2012); Lowinger v.
Johnson,- 2005 WL 2592229 (W.D. N.C. 2005); in re -Kr'ng Pharms., Inc., 230 F.R.D. 503, 505 (E.D. Tenn. 2004).

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May 19, 2015

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CERTIFICATE OF SERV]CE

I, the undersigned, hereby certify that a true and correct copy of the foregoing document
was served of record via Facsimile and Certiiied Mail - Retum Receipt Requested, on this 19th

day ofMay, 2015.

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